 Case 2:23-cv-00443-JRG Document 40 Filed 12/15/23 Page 1 of 5 PageID #: 465



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

VALTRUS INNOVATIONS LTD.


       vs.                                           CIVIL ACTION NO. 2:23-CV-0443-JRG
                                                              (Lead Case)

AT&T INC., ET AL.


                  JOINT MOTION TO EXTEND CERTAIN DEADLINES

       Plaintiff Valtrus Innovations Ltd and, Defendants T-Mobile USA, Inc. T-Mobile US, Inc.,

Sprint Corp., OnePlus Technology (Shenzhen) Co. Ltd., and OnePlus Mobile Communications

(Guangdong) Co., Ltd. jointly move to extend certain deadlines shown in the chart below. The

parties request the following deadlines be extended as follows:

 Current Deadline           Proposed Deadline       Event
 December 18, 2023          January 12, 2024        File Proposed Discovery Order

 December 26, 2023          January 19, 2024        File Proposed Protective Order

       The parties submit that good cause exists for the proposed extension. Among other things,

the consolidated cases involve three sets of Defendants for which the issues addressed in the

Discovery Order and Protective Order raise separate issues. For example, Plaintiff asserts nine

patents against the Verizon and T-Mobile Defendants but only four patents against the OnePlus

Defendants. The parties continue to discuss how, if at all, the default limits set forth in the

discovery order should be altered to account for the scope of the case against the Verizon and T-

Mobile Defendants without unduly burdening the OnePlus Defendants, given the relatively

narrow scope of the case. Additionally, notwithstanding the above, the parties agree that

discovery may begin on December 26, 2023, as would otherwise be the case if the deadlines were

not moved. Accordingly, the requested extensions will not affect the remaining schedule.
Case 2:23-cv-00443-JRG Document 40 Filed 12/15/23 Page 2 of 5 PageID #: 466




Dated: December 15, 2023          Respectfully submitted,

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                                     2
Case 2:23-cv-00443-JRG Document 40 Filed 12/15/23 Page 3 of 5 PageID #: 467




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                                     3
Case 2:23-cv-00443-JRG Document 40 Filed 12/15/23 Page 4 of 5 PageID #: 468




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                                     4
 Case 2:23-cv-00443-JRG Document 40 Filed 12/15/23 Page 5 of 5 PageID #: 469




                                 CERTIFICATE OF SERVICE

       I, an attorney, hereby certify that on December 15, 2023, I caused a true and correct copy

of the foregoing Motion to be served upon all counsel of record who are deemed to have consented

to electronic service via the Court’s electronic filing system.




                                                        /s/ Melissa R. Smith


                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendants met and conferred with

counsel for Plaintiff to discuss the substantive issues addressed in this Motion pursuant to

Local Rule CV-7(h-i). The Parties are jointly seeking the relief sought in this Motion.


                                                         /s/ Melissa R. Smith




                                                  5
